                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:24-MC-167-FDW-DCK

 TESLA,                                             )
                                                    )
                 Petitioner,                        )              ORDER
                                                    )
    v.                                              )
                                                    )
 HENDRICK AUTOMOTIVE GROUP,                         )
                                                    )
                 Respondent.                        )
                                                    )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 6) filed by Local Counsel John Michael (“J.M.”) Durnovich

on December 23, 2024.

         Applicant David Gringer seeks to appear as counsel pro hac vice for Petitioner. Upon

review and consideration of the motion, which was accompanied by submission of the necessary

fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 6) is GRANTED. David Gringer is

hereby admitted pro hac vice to represent Petitioner.

         SO ORDERED.
                        Signed: December 23, 2024




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